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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

LISA FOSTER; LINDA THURMAN;                    )
GREG SOLLEY; ERIC JOHNSON;                     )
ANNETTE RODGERS; and                           )
COURTNEE CARROLL,                              )
                                               )
Plaintiffs,                                    )
                                               )        CASE NO.:
v.                                             )        2:12-CV-00724-MHT-TFM
                                               )
JUDICIAL CORRECTION                            )        CLASS ACTION
SERVICES, INC., a corporation;                 )        COMPLAINT
and CORRECTIONAL HEALTHCARE                    )
COMPANIES, INC., a corporation,                )        JURY TRIAL
                                               )        DEMANDED
Defendants.                                    )

              SECOND AMENDED CLASS ACTION COMPLAINT

       The Plaintiffs, by and through their attorneys, hereby amend this civil action

for declaratory judgment, injunctive relief, monetary relief, and other relief. They

bring the action individually and on behalf of all others similarly situated, pursuant

to Fed.R.Civ.P. 23, and they allege upon they personal knowledge and information

and belief as to those similarly situated as follows:

       1.     The Plaintiffs and the members of the class they propose to represent are

entitled to relief for these reasons: (1) the Defendants, Judicial Correction Services,

Inc. ("JCS") and its successor, Correctional Healthcare Companies, Inc. ("CHC"),

have engaged and are engaged in activities which are inimical to the Plaintiffs and
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Class and are due be declared unlawful; (2) JCS and CHC have been unjustly

enriched by the unlawful activities, warranting monetary relief to Plaintiffs and Class

under a count for unjust enrichment; (3) JCS and CHC, by engaging in the

wrongdoing alleged, have obstructed and continue to obstruct Alabama law, in

violation of Ala. Code § 13A-10-2 and other authorities; and (4) JCS and CHC, if and

to the extent they have acted and are acting under color of state law, have deprived

Plaintiffs and Class of the equal protection of the law, violating rights secured to the

Plaintiffs and Class by statute, by constitutions of the states, and by the Constitution

of the United States.     An injunction against the Defendants to prevent such

obstruction and violations is in order, as is a judgment for other relief and for

attorneys fees.

                    PARTIES, JURISDICTION, AND VENUE

      2.     Plaintiff Lisa Foster is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Montgomery, Alabama,

which is in Montgomery County. The activities she complains of have been directed

against her by Defendants in Montgomery County.

      3.     Plaintiff Linda Thurman is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Montgomery, Alabama,

which is in Montgomery County. The activities she complains of have been directed

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against her by Defendants in Montgomery County.

      4.     Plaintiff Eric Johnson is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Talladega, Alabama, which

is in Talladega County. The activities he complains of have been directed against him

by Defendants in Talladega County.

      5.     Plaintiff Greg Solley is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Alpine, Alabama, which

is in Talladega County. The activities he complains of have been directed against him

by Defendants in Talladega County.

      6.     Plaintiff Annette Rodgers is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Brundidge, Alabama,

which is in Pike County. The activities she complains of have been directed against

her by Defendants in Pike County.

      7.     Plaintiff Courtnee Carroll is an adult resident and citizen of the State of

Alabama who resides, and resided at all times material, in Ramer, Alabama, which

is in Montgomery County. The activities she complains of have been directed against

her by Defendants in Montgomery County.

      8.      According to the Alabama Secretary of State, Defendant Judicial

Correction Services, Inc. ("JCS") is incorporated in the State of Delaware. It

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maintains its principal place of business in Cumming, Georgia, according to the

Alabama Secretary of State. It is a citizen of the States of Delaware and Georgia

according to 28 U.S.C. § 1332. It may be served with process at its agent for service,

which is CT Corporation System, 2 N. Jackson Street, Suite 605, Montgomery AL

36104.

      9.     According to the Georgia and Colorado Secretaries of State, JCS and

Correctional Healthcare Companies, Inc. ("CHC") share corporate officers at the

same corporate address in Colorado. CHC is incorporated in the State of Delaware,

and it maintains its principal place of business in Greenwood Village, Colorado. It

is a citizen of the States of Delaware and Colorado according to 28 U.S.C. § 1332.

      10.    Upon information and belief, CHC is the successor of JCS, having

purchased or otherwise acquired it. It is sued here on that basis and for the reasons

given. It may be served via its CEO, Doug Goetz, at 6200 S. Syracuse Way, Suite

440, Greenwood Village, Colorado 80111.

      11.    Jurisdiction for this action arises on 28 U.S.C. § 1332, as amended by

the "Class Action Fairness Act of 2005," and on 28 U.S.C. § 1331, for these reasons:

      a.     The matter in controversy exceeds the sum of $5,000,000, exclusive of

interest and costs. The proposed class members number more than one hundred

persons. The Plaintiffs are citizens of Alabama and are diverse from the Defendants,

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which are not citizens of Alabama. Most members of the Class the Plaintiffs propose

are citizens of Alabama. Other members are citizens of adjacent states, namely

Georgia, Mississippi, Tennessee, and Florida. Accordingly, the Class, or most of it,

is diverse from the Defendants; and

      b.     Equal protection of the law and denials of it are matters both of state law

and constitution and of the United States Constitution. That the Defendants have

deprived Plaintiffs and Class of the equal protection of the law is a federal question

within the meaning of 28 U.S.C. ¶ 1331.

      12.    This Court has personal jurisdiction over the Defendants, because, inter

alia, they maintain and have maintained sufficient minimum contacts with and in the

State of Alabama at all times material to this action. Personal jurisdiction has not

been contested.

      13.    Events complained of in this lawsuit occurred in this judicial district,

making venue here proper. Upon information and belief, JCS operates in the manner

alleged in many municipalities located in this judicial district. It is believed to

operate in the manner alleged in scores of municipalities across Alabama, including

municipalities located close to the borders of these adjacent states: Mississippi,

Florida, Tennessee, and Georgia. The municipal courts of the municipalities where

JCS operates have jurisdiction to hear and decide misdemeanor offenses, not felony

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offenses.

                        CLASS ACTION ALLEGATIONS

      14.     Plaintiffs bring this action on behalf of themselves and others similarly

situated as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure.

The Class which Plaintiffs seek to represent is composed of and defined as:

      a.      All persons in Alabama and adjacent states of Georgia, Mississippi,

Tennessee, and Florida who paid JCS (and/or CHC, its alleged successor) and/or were

deprived of rights secured to them by state or federal law as a result of unlawful

activities by JCS.

      b.      The following persons are excluded from the definition of the Class:

      (i)     Judges and employees of municipal courts in Alabama in those

municipalities where JCS operates;

      (ii)    Employees of the Defendants;

      (iii)   Persons who are the complaining parties in the proceeding known as

RICHARD EARL GARRETT, TERRANCE DATCHER, DANA BURDETTE, and

DEBRA S. FORD, individually and on behalf of all others similarly situated, vs.

TOWN OF HARPERSVILLE, ALABAMA, a municipal corporation, and JUDICIAL

CORRECTIONS SERVICES, a corporation, Case No. CV-2010-900183, which is

pending in the Circuit Court of Shelby County, Alabama.

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      (iv)     U.S. District Court judges, magistrate judges of any U.S. District Court,

judges of the U.S. Court of Appeals for the Eleventh Circuit, and U.S. District Court

personnel having any involvement with administration and/or adjudication of this

lawsuit; and

      (v)      Class counsel and their employees.

      15.      The Class period commences on the date two years immediately prior to

the filing of this lawsuit and continues forward. The wrongdoing alleged is ongoing.

      16.      This action has been brought and may properly be maintained as a class

action pursuant to the provisions of the Federal Rules of Civil Procedure, for these

reasons:

      a.       Members of the Class are geographically distributed and so numerous

that their joinder is impractical; and

      b.       Common questions of law and fact exist as to all members of the Class

and predominate over any questions affecting only individual Class members. Some

common questions include, but are not limited to, the following:

      (i)      Whether JCS violated the laws of the State of Alabama, or of the United

States, by commanding and coercing payments of fines or fees, or charges of any

kind, on the basis of documents purporting to be from municipal courts on which its

name appears and which it holds out as lawful orders and conditions of probation,

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when such documents -- as Defendants were and are aware -- were not and are not

lawful orders of probation or conditions thereof;

      (ii)    Whether JCS violated the laws of the State of Alabama, or of the United

States, by commanding and coercing payments of fines or fees, or charges of any

kind, in excess of any such amount allowed by law, or for periods of time which

exceed the maximum amount time prescribed by law for probation;

      (iii)   Whether Defendants were and are unjustly enriched by commanding and

coercing payments of fees, or charges of any kind, in violation of the laws of the State

of Alabama or of the United States;

      (iv)    Whether the Plaintiffs and Class are due monetary relief from the

Defendants' unjust enrichment;

      (v)     Whether JCS has obstructed and violated the law and is obstructing and

violating the law by falsely warning the Plaintiffs and Class that the courts are not

open to them with respect to fines and fees coerced and collected by Defendants, or

with respect to terms of probation, and by commanding the Plaintiffs and Class, in

violation of law, not to seek relief from the courts in the matters of probation,

indigence, and fines and fees coerced and collected by Defendants; and whether such

obstruction and violations deny Plaintiffs and Class equal protection of the law.

      (vi)    Whether the Plaintiffs and Class are entitled to (1) declaratory judgment

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in their favor, (2) an injunction against Defendants to end and prevent such violations

of law, (3) other equitable relief, and (4) an attorney fee based on the common and

public good they obtain or may obtain by prosecuting this action.

      c.     Plaintiffs’ claims are typical of the claims of the members of the Class

under Federal Rule of Civil Procedure 23. The Defendants' conduct has been and is

inimical to the Plaintiffs and the Class, and it has and continues to adversely affect

them. The violations of law alleged are ongoing, and the Plaintiffs and Class are

harmed by it. The Class should be certified to vindicate the law, to end the harm, and

to protect and preserve the common and public good.

      d.     The Plaintiffs will fairly and adequately protect the interest of the Class

as required by Federal Rule of Civil Procedure 23. The Plaintiffs have no interest

which is adverse to the interest of Class. The Plaintiffs have retained counsel who

has substantial experience and success in the prosecution of class actions.

      e.     The prosecution of separate actions by individual members of the Class

would create the risk of (i) inconsistent or varying adjudications with respect to

individual members of the Class which would establish incompatible standards of

conduct for Defendants; or (ii) adjudications with respect to individual members of

the Class which would as a practical matter be dispositive of the interest of the other

members not parties to the adjudication or substantially impair or impede their ability

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to protect their interest.

       f.     Defendants have acted or refused to act on grounds generally applicable

to, and causing injury to, the Plaintiffs and Class, warranting injunctive relief and

monetary relief. Absent Class relief, Defendants would be unjustly enriched because

they would be able to retain the benefits and fruits of their wrongful conduct.

       g.     The questions of law and fact common to the Class predominate over

questions affecting only individual members. A class action is superior to all other

available methods for the fair and efficient adjudication of this controversy under

Federal Rule of Civil Procedure 23. The harm suffered by many individual members

of the Class may not be great enough to warrant the expense and burden of individual

litigation, which would make it difficult or impossible for individual members of the

Class to redress the wrongs done to them. The cost to adjudicate individual claims

would be substantial. Individualized litigation would also present the potential for

inconsistent or contradictory judgments and would magnify the delay and expense to

all parties and to the court system in multiple trials of the complex factual issues of

the case. By contrast, the conduct of this action as a class action presents far fewer

management difficulties, conserves the resources of the parties and of the court

system, and protects the rights of each class member.




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                          PLAINTIFFS' ALLEGATIONS

      17.    In 2010, 2011 and 2012, JCS commanded and coerced payments of

probation fees, or charges of other kind, from Plaintiffs Carroll, Foster, and Thurman

on the basis of documents purporting to be from the municipal court of the City of

Montgomery which bear the name of JCS and which JCS held out to Plaintiffs as

lawful orders and conditions of probation. Such documents, as Defendants were and

are aware, were not and are not lawful orders of probation or conditions thereof.

      18.    In 2010 and 2011, JCS commanded and coerced payments of probation

fees, or charges of other kind, from Plaintiff Rodgers on the basis of documents

purporting to be from the municipal court of the City of Troy which bear the name of

JCS and which JCS held out to Plaintiff as lawful orders and conditions of probation.

Such document, as Defendants were and are aware, were not and are not lawful orders

of probation or conditions thereof.

      19.     Under Alabama law, a sentence of probation, and the terms thereof

including probation fees, for a misdemeanor offense adjudicated in a municipal court

may be imposed only upon the signed order of a municipal court judge, a copy of

which must be given to the probationer. Upon information and belief, no such order

issued in the cases of Plaintiffs Rodgers, Carroll, Foster, Thurman, and the proposed

class members similarly situated to them. Instead, the orders JCS holds out as

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lawfully imposing probation and the terms thereof, including the payment of

probation fees to JCS, on Plaintiffs Rodgers, Carroll, Foster, Thurman and proposed

class members are documents either entirely unsigned or which are signed or initialed

by persons believed to be JCS employees. The documents are false and are nullities.

      20.    JCS, in so commanding and coercing payments from Plaintiffs Carroll,

Foster, Rodgers, and Thurman, falsely warned them in writing that the courts are not

open to them with respect to fines and fees so coerced and collected, or with respect

to probation, and further falsely commanded them in writing that they could not seek

relief from the courts in those matters.

      21.    JCS, in its written warnings and commands Plaintiffs Carroll, Foster,

Rodgers, and Thurman, employed a form topped by an insignia and seal purporting

to show, or suggesting, that JCS is a law enforcement agency. JCS is a private

company, not a law enforcement agency, so this device or artifice was and is false,

as Defendants are aware.       Their employees are not judicial officials or law

enforcement officers.

      22.    Upon information and belief, Defendants have a practice and policy of

commanding and coercing payments of probation fees on the basis of documents

purporting to be from municipal courts on which the name JCS appears and which the

Defendants hold out as lawful orders and conditions of probation, when such

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documents -- as Defendants were and are aware -- were not and are not lawful orders

of probation or conditions thereof.

      23.     Upon information and belief, Defendants have a practice and policy of

employing written warnings and commands to the Plaintiffs and Class which purport

to show or suggest that JCS is a law enforcement agency.

      24.     Upon information and belief, for the purpose of coercing payments,

Defendants have a practice and policy of employing written warnings to the Plaintiffs

and Class which threaten the Plaintiffs and Class with jail for failing to appear at

JCS's offices, or for failing to make certain payments to JCS. Upon information and

belief, to coerce the payments, the warnings include commands that Plaintiffs and

Class appear at JCS offices much more frequently than required by any condition of

lawful probation.

      25.     Upon information and belief, Defendants have a practice and policy of

employing written warnings and commands that falsely warn the Plaintiffs and Class

that the courts are not open to them with respect to fines and fees coerced and

collected by Defendants, or with respect to terms of probation, and which command

the Plaintiffs and Class, in violation of law, not to seek relief from the courts in the

matters of probation, indigence, and fines and fees coerced and collected by

Defendants.

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      26.    Upon information and belief, as of July, 2012, JCS has collected

probation fees from Plaintiff Solley for a period of more than five years purportedly

on the basis of a sentence of probation for an offense adjudicated in municipal court.

Probation of that length is unlawful, as JCS is aware. Alabama law proscribes

probation sentences for misdemeanors which exceed two years. To coerce the fee

payments from Solley, JCS has employed the same practices, policies, and device

alleged above.

      27.    Upon information and belief, JCS has commanded probation fees from

persons similarly situated to Plaintiff Solley for periods of probation which exceed

two years, in violation of Alabama law.

      28.    As of July, 2012, JCS has collected fines and fees from Plaintiff Johnson

which exceed his ability to pay. Johnson is indigent and on disability, and the

Defendants have coerced payments from him by employing the same practices,

policies, and device alleged above. He has been able to make the payments only

because a local charity has assisted him.

      29.    Upon information and belief, JCS has commanded probation fees from

persons similarly situated to Plaintiff Johnson which exceed their ability to pay, in

violation of Alabama law.




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                                       COUNTS

                                    COUNT ONE

                          DECLARATORY JUDGMENT

      30.    To support this count, Plaintiffs adopt, re-assert, and incorporate all of

the foregoing allegations.

      31.    There exists between Plaintiffs, on the one hand, and Defendants, on the

other hand, an actual justifiable controversy with respect to the matters set forth here,

as to which Plaintiffs are entitled to have a declaration of rights and further relief as

set forth herein.

      32.    The Plaintiffs are entitled to have entered a judgment declaring:

      a.     That JCS violates the laws of the State of Alabama, and/or of the United

States, by commanding and coercing payments of fines or fees, or charges of any

kind, on the basis of documents purporting to be from municipal courts which it holds

out as lawful orders and conditions of probation, when such documents are not lawful

orders of probation or conditions thereof;

      b.     That JCS violates the laws of the State of Alabama, and/or of the United

States, by commanding and coercing payments of fines or fees, or charges of any

kind, in excess of any such amount allowed by law, or for periods of time which

exceed the maximum amount time prescribed by law for probation;

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      c.      That Defendants have been unjustly enriched by their unlawful activities,

and that Plaintiffs and Class are due monetary relief from the unjust enrichment;

      d.      That JCS obstructs and violates the law by falsely warning the Plaintiffs

and Class that the courts are not open to them with respect to fines and fees or other

terms of probation, and by commanding the Plaintiffs and Class not to seek relief

from the courts in the matters of probation, indigence, and fines and fees coerced and

collected by Defendants; and that JCS denies the Plaintiffs and Class equal protection

of the law;

      e.      That Plaintiffs and Class are entitled an attorney fee against Defendants

based on the common and public good obtained by prosecution of this action.

                                    COUNT TWO

                             UNJUST ENRICHMENT

      33.     To support this count, Plaintiffs adopt, re-assert, and incorporate all of

the foregoing allegations.

      34.     The Plaintiffs, under federal rules of civil procedure, are authorized to

bring this count for themselves and the Class. Sheet Metal Workers Local 441 Health

& Welfare Plan v. GlaxoSmithKline, PLC, 263 F.R.D. 205, 216-17 (E.D. Pa. 2009).

They adopt, re-assert, and incorporate all of the foregoing allegations.

      35.     The Defendants have been unjustly enriched by foregoing alleged

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activities, and they should be ordered to disgorge the ill-gotten gains, which is money

that in good conscience they should not keep.

         36.   The Plaintiffs and the Class are due monetary relief equal to the sum of

the Defendants' unjust enrichment, with interest due at a statutory rate.

                                   COUNT THREE

                             OBSTRUCTION OF LAW

                    AND DENIAL OF EQUAL PROTECTION

         37.   To support this count, Plaintiffs adopt, re-assert, and incorporate all of

the foregoing allegations.

         38.   The Plaintiffs, under federal rules of civil procedure, including

Fed.R.Civ.P. 23, are authorized to bring this count for themselves and for the putative

class.

         39.   The Defendants, by falsely warning the Plaintiffs and Class that the

courts are closed to them with respect to probation, indigence, and fines and fees, and

by commanding them not to seek judicial redress or relief in the matters, obstruct the

administration of law in violation of Ala. Code § 13A-10-2 and impair and deprive

rights secured to the Plaintiffs and Class by other statute, by constitutions of the

states, and by the Constitution of the United States.

         40.   The Alabama Constitution guarantees all citizens access to the courts.

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Ala. Const. art. I, § 13 ("That all courts shall be open; and that every person, for any

injury done him, in his lands, goods, person, or reputation, shall have a remedy by due

process of law; and right and justice shall be administered without sale, denial, or

delay."). It and statutes enacted under it proscribe fines or fees that exceed a

probationer's ability to pay. Ala. Op. of Attorney General No. 98-00043 (Nov. 24,

1997). It and statutes enacted under it proscribe incarceration solely because a

probationer is unable to pay a fine or fee. Id. Likewise, under the same law, no

supervision fee may be charged an indigent probationer which exceeds the

probationer's ability to pay or results in incarceration merely on the basis of his or her

inability to pay. Id. The Alabama Constitution and statutes enacted under it also

proscribe sentences of probation for Plaintiffs and Class which exceed two years.

Ala. Code § 15-22-54(a).

      41.    JCS, by the wrongdoing alleged, has obstructed and violated the

foregoing law, and the Plaintiffs and Class have been and are harmed by as a result.

They have been and are deprived of rights secured to them by statute, by constitutions

of the states, and by the Constitution of the United States. The deprivation includes,

but is not limited to, the equal protection of the law.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly

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situated, request an order and judgment against the Defendants which --

      1.     Certifies the Class and appoints Plaintiffs and their counsel to represent

the Class.

      2.     Grants declaratory judgment to the Plaintiffs and Class.

      3.     Grants monetary relief to the Plaintiffs and Class in a sum which does

not exceed the sum of the Defendants' unjust enrichment.

      4.     Enjoins the Defendants from the wrongdoing alleged.

      5.     Awards a reasonable attorney fee to the Plaintiffs and Class for the

common and public good obtained in this action.

      6.     Grants such other, further and different relief as the nature of the case

may require or as may be determined to be just, equitable and proper by this Court.

                                       /s/ W. Lewis Garrison, Jr.
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           PLAINTIFFS DEMAND TRIAL BY STRUCK JURY
                 ON ALL ISSUES IN THIS CAUSE

                         /s/ Christopher B. Hood
                           Christopher B. Hood




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                           CERTIFICATE OF SERVICE

       I certify that on this 11th day of February, 2013, I filed the foregoing via the
Court's ECF system, which will transmit it electronically, with notice, to counsel
of record as follows:

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                      /s/ Christopher B. Hood
                        Christopher B. Hood




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